1    Adam B. Nach – 013622
     Helen K. Santilli – 032441
2    LANE & NACH, P.C.
     2001 E. Campbell Ave., Suite 103
3    Phoenix, AZ 85016
     Telephone No.: (602) 258-6000
4    Facsimile No.: (602) 258-6003
     Email: adam.nach@lane-nach.com
5    Email: helen.santilli@lane-nach.com
6    Attorney for Stanley J. Kartchner, Case Trustee
7                           IN THE UNITED STATES BANKRUPTCY COURT
8                                   FOR THE DISTRICT OF ARIZONA
9    In re:                                             (Chapter 7 Case)
10   ROY STEWART,                                       No. 4:19-bk-0042-SHG
11                                                      TRUSTEE’S OBJECTION TO
                      Debtor.                           CLAIMED EXEMPTIONS
12

13

14            Stanley J. Kartchner, Trustee, by and through his attorneys undersigned, herein objects to
15
     certain claimed exemptions by Roy Stewart (“Debtor”), and respectfully represents as follows:
16
              1.      This case was commenced by voluntary petition filed on Janruary 2, 2019.
17

18            2.      Stanley J. Kartchner is the duly qualified and acting Chapter 7 Case Trustee herein.

19            3.      The §341(a) first meeting of creditors in this case concluded on February 12, 2019.
20
              4.      On Schedule A/B, the Debtor discloses real property located at 3662 West Gailey
21
     Drive, Tucson, Arizona (“Real Property”) and on Schedule C exempts the Real Property
22

23   pursuant to A.R.S. § 33-1101(A).

24            5.      A.R.S. § 33-1101(A) provides a homestead exemption as follows:
25
                   Any person the age of eighteen or over, married or single, who resides within
26                 the state may hold as a homestead exempt from attachment, execution and
                   forced sale, not exceeding one hundred fifty thousand dollars in value [. . .]
27                 The person’s interest in real property in one compact body upon which exists a
                   dwelling house in which the person resides.
28


 Case 4:19-bk-00042-SHG           Doc 23 Filed 03/12/19 Entered 03/12/19 11:43:24            Desc
                                   Main Document    Page 1 of 5
 1             6.     Here, based on information on the Pinal County Recorder’s website, the Debtor
 2
     does not personally own the Real Property or any portion thereof. Rather, the Stewart Roy
 3
     Edward Living Trust (“Trust”) owns the Real Property.              Debtor is seeking to exempt his
 4

 5   ownership interest in the Trust, but nothing in A.R.S. §33-1101 or any other Arizona exemption

 6   statute permits a debtor to exempt an interest in a trust. Likewise, nothing in A.R.S. §33-1101 or
 7
     any other Arizona exemption statute permits a debtor to exempt property owned by a separate
 8
     entity.
 9
10             7.     Trustee, accordingly, disputes the Debtor’s claimed exemption under the homestead

11   exemption pursuant to §33-1101.
12
               8.     On Schedule A/B, the Debtor discloses a whole life insurance policy held by
13
     Fidelity and Guaranty Group Insurance Trust (“Life Insurance Policy”) and on Schedule C
14

15   exempts the Life Insurance Policy pursuant to A.R.S. § 20-1131.

16             9.     The Debtor’s Schedule A/B values the Life Insurance Policy at $1.00 and on
17
     Schedule C exempts the $1.00 value. Pursuant to the Debtor’s Schedule A/B, the Life Insurance
18
     Policy has no cash value.
19

20             10.    A.R.S. § 20-1131(D) provides the following exemption:

21             If, for a continuous, unexpired period of two years, a policy of life insurance has
               named as beneficiary the insured's surviving spouse, child, parent, brother, sister
22
               or any other dependent family member, then, in event of bankruptcy or in any
23             proceeding before any court in this state, the cash surrender value of the insurance,
               in the proportion that the policy names any such beneficiary, shall be exempt from
24             claims and demands of all creditors, other than a creditor to whom the policy has
25             been pledged or assigned, and except that, subject to the statute of limitations, the
               amount of any premiums which are recoverable or avoidable by a creditor
26             pursuant to title 44, chapter 8, article 1, with interest, shall inure to their benefit
               from the cash surrender value. For the purposes of this subsection, "dependent"
27
               means a family member who is dependent on the insured for not less than half
28             support.

                                                    2
 Case 4:19-bk-00042-SHG           Doc 23 Filed 03/12/19 Entered 03/12/19 11:43:24             Desc
                                   Main Document    Page 2 of 5
 1
 2
            11.    According to information provided by the Debtor to the Trustee, the Life Insurance
 3
     Policy has a present cash surrender value of no less than $34,222.41.
 4

 5          12.    Debtor’s Schedule A/B does not indicate the beneficiary of the Life Insurance

 6   Policy or if the Debtor has had the policy for a continuous, unexpired period of two years.
 7
            13.    Trustee, accordingly, disputes the Debtor’s claimed exemption of the Life
 8
     Insurance Policy under A.R.S. § 20-1131.
 9
10          14.    On Schedule A/B, the Debtor discloses a “Health Savings Account from previous

11   employer” (“HSA”) and on Schedule C exempts the HSA pursuant to A.R.S. § 33-1126(A)(4).
12
            15.    A.R.S. § 33-1126(A)(4) provides the following exemption:
13
            A. The following property of a debtor is exempt from execution, attachment or
14          sale on any process issued from any court: […] 4. All money, proceeds or benefits
15          of any kind to be paid in a lump sum or to be rendered on a periodic or installment
            basis to the insured or any beneficiary under any policy of health, accident or
16          disability insurance or any similar plan or program of benefits in use by any
            employer, except for premiums payable on the policy or debt of the insured
17
            secured by a pledge, and except for collection of any debt or obligation for which
18          the insured or beneficiary has been paid under the plan or policy and except for
            payment of amounts ordered for support of a person from proceeds and benefits
19          furnished in lieu of earnings that would have been subject to that order and subject
20          to any exemption applicable to earnings so replaced.

21          16.    Pursuant to his Schedule A/B, Debtor values the HSA at $11,000.00 and exempts
22
     the full $11,000.00 value on Schedule C.
23
            17.    The Trustee objects to exemption of the HSA because HSA funds are not money,
24

25   proceeds, or benefits payable under a policy of health, accident, or disability as required by A.R.S.

26   § 33-1126(A)(4).
27
            18.    Trustee, accordingly, disputes the Debtor’s claimed exemption in the HSA pursuant
28

                                                  3
 Case 4:19-bk-00042-SHG         Doc 23 Filed 03/12/19 Entered 03/12/19 11:43:24             Desc
                                 Main Document    Page 3 of 5
 1   to A.R.S. § 33-1126(A)(4).
 2
           19.     On Schedule A/B, the Debtor discloses three IRA accounts: (1) IRA: TD
 3
     Ameritrade Rollover IRA acct*0267; (2) IRA: TD Ameritrade Roth IRA acct*1059; and (3) IRA:
 4

 5   Edward Jones Roth IRA acct*95-1-3 (collectively “IRAs”).

 6         20.     On Schedule C, Debtor exempts the full amount of the IRAs pursuant to A.R.S. §
 7
     33-1126(B).
 8
           21.     A.R.S. § 33-1126(B) provides the following exemption:
 9
10         B. Any money or other assets payable to a participant in or beneficiary of, or any
           interest of any participant or beneficiary in, a retirement plan under section 401(a),
11         403(a), 403(b), 408, 408A or 409 or a deferred compensation plan under section
12
           457 of the United States internal revenue code of 1986, as amended, whether the
           beneficiary's interest arises by inheritance, designation, appointment or otherwise,
13         is exempt from all claims of creditors of the beneficiary or participant…
14         22.     Trustee has requested has requested information from Debtor to determine whether
15
     the IRAs are exempt. Trustee has not been provided with the necessary documents and
16
     information to properly determine whether the IRAs are exempt. Trustee needs additional time
17

18   and information to determine if the IRAs are exempt.
19         23.     Trustee, accordingly, disputes the Debtor’s claimed exemptions in the IRAs
20
     pursuant to A.R.S. § 33-1126(B).
21
           24.     On Schedule A/B, the Debtor discloses a “Rental Deposit: CJR Investments, LLC”
22

23   (“Deposit”) and exempts it on Schedule C pursuant to A.R.S. § 33-1126(C).
24         25.     A.R.S. § 33-1126(C) provides the following exemption:
25
           C. Any person eighteen years of age or over, married or single, who resides within
26         this state and who does not exercise the homestead exemption under article 1 of
           this chapter may claim as a personal property homestead exempt from all process
27
           prepaid rent, including security deposits as provided in section 33-1321,
28         subsection A, for the claimant's residence, not exceeding two thousand dollars.

                                                 4
 Case 4:19-bk-00042-SHG        Doc 23 Filed 03/12/19 Entered 03/12/19 11:43:24           Desc
                                Main Document    Page 4 of 5
 1
 2          26.    As stated above, the Debtor has claimed a homestead exemption in the Real

 3   Property. Therefore, since the Debtor has exercised his homestead exemption, he is not entitled to
 4
     also exempt the Deposit.
 5
            27.    Trustee, accordingly, disputes the Debtor’s claimed exemption in the Deposit
 6

 7   pursuant to A.R.S. § 33-1126(C).

 8          WHEREFORE, Stanley J. Kartchner, Trustee, respectfully requests that this Court make
 9   and enter its Order sustaining the objection to the Debtor’s exemptions for the reasons stated
10
     herein and, for such other and further relief as this Court deems just and proper
11

12
            RESPECTFULLY SUBMITTED this 12th day of March, 2019.

13
                                               LANE & NACH, P.C.
14
                                               By: /s/ Adam B. Nach – 013622
15                                                     Adam B. Nach
                                                       Helen K. Santilli
16                                                     Attorneys for Trustee
17   A COPY of the foregoing mailed to:
18   Roy Stewart
     3662 West Gailey Drive
19   Tucson, Arizona 85741
     Debtor
20
     WITH A COPY delivered via electronic notification to:
21
     Pamela Faye Trachtman-Allen
22   My AZ Lawyers, PLLC
     1731 West Baseline Road, #101
23   Mesa, Arizona 85202
     Email: pamela@myazlawyers.com
24   Attorney for Debtor
25   Office of U.S. Trustee
     230 North First Avenue
26   Phoenix, AZ 85003
     Email: Renee.S.Shamblin@usdoj.gov
27
28   By /s/ Terie Flowers Turner

                                                  5
 Case 4:19-bk-00042-SHG         Doc 23 Filed 03/12/19 Entered 03/12/19 11:43:24          Desc
                                 Main Document    Page 5 of 5
